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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                               :     CASE NO.
                                                        :
        v.                                              :     VIOLATIONS:
                                                        :     18 U.S.C. § 1752(a)(1) - Entering and
  BLAKE PATTERSON                                       :     Remaining in a Restricted Building or
                                                        :     Grounds
  RYAN HOLDEN,                                          :     18 U.S.C. § 1752(a)(2) - Disorderly and
                                                        :     Disruptive Conduct in a Restricted
                                                        :     Building or Grounds
                                 Defendant.             :     40 U.S.C. § 5104(e)(2)(D) - Disorderly
                                                        :     Conduct in a Capitol Building
                                                        :     40 U.S.C. § 5104(e)(2)(G) - Parading,
                                                        :     Picketing, and Demonstrating in a Capitol
                                                        :     Building
                                                        :
                                                        :
                                                        :
                                                        :
                                                        :
                                                        :
                                                     ORDER

        This matter having come before the Court pursuant to the application of the United States to seal

criminal complaint, the Court finds that, because of such reasonable grounds to believe the disclosure will

result in flight from prosecution, destruction of or tampering with evidence, intimidation of potential

witnesses, and serious jeopardy to the investigation, the United States has established that a compelling

governmental interest exists to justify the requested sealing.

        1.       IT IS THEREFORE ORDERED that the application is hereby GRANTED, and that the

affidavit in support of criminal complaint and other related materials, the instant application to seal, and

this Order are sealed until the arrest warrant is executed.

        2.       IT IS FURTHER ORDERED that the Clerk’s office shall delay any entry on the public

docket of the arrest warrant until it is executed.


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Date:   September 9, 2024
                                           ______________________       _
                                            HONORABLE G. MICHAEL HARVEY
                                            UNITED STATES MAGISTRATE JUDGE




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